       Case 18-55697-lrc              Doc 159 Filed 02/21/19 Entered 02/22/19 01:49:08                                    Desc
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                                        UNITED STATES BANKRUPTCY COURT

                                                  Northern District of Georgia


In     Debtor(s)
Re:    Cassandra Johnson Landry                                      Case No.: 18−55697−lrc
       869 Natchez Valley Trace                                      Chapter: 7
       Grayson, GA 30017                                             Judge: Lisa Ritchey Craig

       xxx−xx−5102



                                            NOTICE SETTING DEADLINE FOR
                                              FILING PROOFS OF CLAIM

     You were previously notified that the schedules of the Debtor(s) disclosed no assets available for distribution to
creditors. The Trustee now reports that funds may be available for distribution.
     Therefore, you are hereby notified that, if you wish to participate in any distribution which may be paid from the
estate, you must file a proof of claim on or before:


                                            Non−government proof of claim: 5/20/19



                                              Government proof of claim: 05/20/19


                                              File with:
                                              United States Bankruptcy Court
                                              1340 United States Courthouse
                                              75 Ted Turner Drive SW
                                              Atlanta, GA 30303


Use Official Form B410 to file a claim. To file electronically visit www.ganb.uscourts.gov and access the ePOC tab. To obtain a claim form
                                      (B410) visit www.ganb.uscourts.gov and access the Forms tab.

                       If you have already filed your proof of claim, it is not necessary to refile.




                                                                                            M. Regina Thomas
                                                                                            Clerk of Court
                                                                                            U.S. Bankruptcy Court
Dated: February 19, 2019
Form ntcpoc
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                                       United States Bankruptcy Court
                                       Northern District of Georgia
In re:                                                                                  Case No. 18-55697-lrc
Cassandra Johnson Landry,                                                               Chapter 7
         Debtor
                                         CERTIFICATE OF NOTICE
District/off: 113E-9           User: jlc                    Page 1 of 6                   Date Rcvd: Feb 19, 2019
                               Form ID: ntcpoc              Total Noticed: 221


Notice by first class mail was sent to the following persons/entities by the Bankruptcy Noticing Center on
Feb 21, 2019.
db             +Cassandra Johnson Landry,    869 Natchez Valley Trace,      Grayson, GA 30017-4963
cr             +U.S. Bank National Association,     3476 STATEVIEW BLVD,     MAC D3347-014,
                 FORT MILL, SC 29715-7203
21474036       +A+ Security Systems Inc.,    c/o Cassandra Johnson Landry,      869 Natchez Valley Trace,
                 Grayson, GA 30017-4963
21456608       +Aculink Mortgage Solutions,    8001 Woodland Center Blvd,      Ste 200,    Tampa, FL 33614-2434
21456609       +Aldrige Pite LLP,    15 Piedmont Center,     3575 Piedmont Rd NE,    Ste 500,
                 Atlanta, GA 30305-1623
21456783       +All,   104 Marietta St NW,    Ste 100,    Atlanta, GA 30303-2743
21473216       +Allstate Corp,    Payne Richards and Associates,     3801 Pegasus Dr, Ste 101,
                 Bakersfield, CA 93308-6874
21456610        Altisource Portfolio Solutions,     1000 Abernathy Rd Ste 200,     Atlanta, GA 30328-5604
21456611       +Altisource Profolio Solutions,     C/O Corporation Service Company,      40 Technology Parkway South,
                 Ste 300,   Norcross, GA 30092-2924
21456613        Altisource Profolio Solutions,     Sophie A Hubscher,    1000 Abernathy Rd Ste 200,
                 Atlanta, GA 30328-5604
21456614        Altisource Profolio Solutions,     Timothy G.N. Harcourt,     1000 Abernathy Rd Ste 200,
                 Atlanta, GA 30328-5604
21456615        Altisource Profolio Solutions,     Weissman Nowack Curry & Wilco PC,      1000 Abernathy Rd Ste 200,
                 Atlanta, GA 30328-5604
21456612       +Altisource Profolio Solutions,     John A Vella,    6060 Center Dr, Ste 500,
                 Los Angeles, CA 90045-8857
21473378       +American Recovery Service Inc.,     555 St. Charles Dr, Ste 100,     Thousand Oaks, CA 91360-3983
21457002       +Amerigroup Corporation (Delaware),     4425 Corporation Lane,     Virginia Beach, VA 23462-3103
21457003        Amerigroup Corporation (Delaware),     C/O C T Corporation System,      289 S Culver St,
                 Lawrenceville, GA 30046-4805
21457004       +Amerigroup Corporation (Delaware),     Kathleen S. Keifer,     120 Monument Cir,
                 Indianapolis, IN 46204-4906
21456457       +Ames Funding,    2 N. Lake Ave.,    Ste 260,    Pasadena, CA 91101-4177
21697723       +Ames Funding,    2 North Lake Ave,    Pasadena CA 91101-1858
21457014       +Annette M Cowart 191199,    Deputy Attorney General,     456 Athens ST,     Jefferson, GA 30549-1408
21697720       +Ardent Mortgage Company,    2677 N. Main Street, Suite 140,      Santa Ana CA 92705-6659
21456459       +Argent Mortgage Company,    2677 N. Main St,     Suite 140,    Santa Ana, CA 92705-6659
21697722       +Association for Habersham,    160 Clairmont Ave,     Decatur GA 30030-2500
21456460       +Association for Habersham,    c/o Dorough & Dorough,     160 Clairmont Ave,
                 Decatur, GA 30030-2500
21456616       +Association for Habersham at,     Nortlake Condominium,     c/o Donough and Donough,
                 160 Clairmont Ave,    Decatur, GA 30030-2500
21600576       +Bank of America, N.A.,    P O Box 982284,     El Paso, TX 79998-2284
21456618        Burgess Title & Escrow LLC,    230 Patrick Henry Pkwy #350,      McDonough, GA 30253
21456695        C T Corporation,    Lawrence, GA 30046-4805
21474033       +CACH LLC,   Harold E. Scherr,     300 Primera Blvd., #356,     Lake Mary, FL 32746-2142
21457280       +CACH LLC/Resurgent Capital Services,     PO Box 5235,    Greenville, SC 29606
21473302       +CMIT Solutions of Atlanta,    North Perimeter,     1200 Abernathy Rd,     Ste 1700,
                 Atlanta, GA 30328-5671
21473249       +Capital One/American Express,     The Bureaus,    1717 Central St,    Evanston, IL 60201-1507
21473263       +Capital One/Marriott Visa,    The Bureaus,     1717 Central St,    Evanston, IL 60201-1507
21456620       +Carl W Wright PC,    1239 Lakeview Cove,     Loganville, GA 30052
21456619       +Carl W. Wright PC,    367 Athens Hwy Ste 900,     Loganville, GA 30052-4997
21456461        Carrington Mortgage,    1600 South Douglass Rd,     Suite 110 & 200A,     Anaheim, CA 92806
21483879        Carrington Mortgage,    1600 South Douglass Rd,     Suite 100 & 200A,     Anaheim, CA 92806
21456780       +Catherine C. Kruger PC,    PO Box 767847,     Roswell, GA 30076-7847
21456462       +Chase Mortgage,    PO Box 24696,    Columbus, OH 43224-0696
21456621       +Chicago Title Company,    601 Riverside Ave,     Jacksonville, FL 32204-2946
21456696       +Chicago Title Company,    Madeline G.M. Lovejoy,     3210 El Camino Real,     Ste 200,
                 Irvine, CA 92602-1368
21471891       +Christopher M Carr,    Attorney General,     456 Athens St,    Jefferson, GA 30549-1408
21457013       +Christopher M Carr 112505,    Attorney General,     456 Athens ST,    Jefferson, GA 30549-1408
21456698       +Cogency Global Inc,    Joan Wagner,    10 East 40th Street,     10th Floor,
                 New York, NY 10016-0201
21456699       +Cogency Global Inc,    Axis Research,    900 Old Roswell Lakes Pkwy,      Ste 310,
                 Roswell, GA 30076-8667
21456697       +Cogency Global Inc,    Francis S. Halliman,     900 Old Roswell Lakes Pkwy,     Ste 310,
                 Roswell, GA 30076-8667
21457256       +Comcast,   Cassandra Johnson Landry,     869 Natchez Valley Trace,      Grayson, GA 30017-4963
21473343       +Comenity Bank,    Payne Richards & Associates,     PO Box 10389,    Bakersfield, CA 93389-0389
21456700       +Commonwealth Land,    Title Insurance Company,     601 Riverside Ave,
                 Jacksonville, FL 32204-2901
21457259       +Credit Central Services LLC,     9550 Regency Square Blvd,     Suite 500A,
                 Jacksonville, FL 32225-8169
21456701       +Cynthia Pope,    Small Business Administration,     409 3rd St SW MC 2150,
                 Washington, DC 20416-0005
21456778       +De Lage Landen Financial Services Inc.,      1111 Old Eagle School Rd,     Wayne, PA 19087-1453
21456713       +De Lage Landen Financial Services Inc.,      1775 Tysons Blvd,    Tyson, VA 22102-4284
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21456777       +De Lage Landen Financial Services Inc.,     William Leroy Deckelman Jr.,      1775 Tysons Blvd,
                 Tyson, VA 22102-4284
21456712       +De Lage Landen Financial Services Inc.,     C T Corporation,     289 S Culver St,
                 Lawrenceville, GA 30046-4805
21456711       +De Lage Landen Financial Services Inc.,     Hays Potter Martin LLP,
                 3945 Holcomb Bridge Rd Ste 300,     Peachtree Corners, GA 30092-5200
21456998       +Delong, Caldwell, Bridges,,     Fitzpatrick & Benjamin LLC,     101 Marietta NW Ste 3100,
                 Atlanta, GA 30303-2731
21566184        Deutsche Bank National Trust Company,,     Ocwen Loan Servicing, LLC,
                 Attn: Bankruptcy Department,     PO Box 24605,    West Palm Beach, FL 33416-4605
21457274       +Dorian Murry,    Attorney at Law,    5300 Memorial Dr,     Ste 138,    Stone Mountain, GA 30083-3155
21457025       +Dorion Murry,    Attorney at Law,    5300 Memorial Dr,     Ste 138,    Stone Mountain, GA 30083-3155
21456617       +Dorough & Dorough,    160 Clairemont Ave,    Ste 630,     Decatur, GA 30030-2534
21556852       +Dorough & Dorough,    160 Clairemont Ave,    Suite 650,     Decatur, GA 30030-2534
21456512       +Dorough & Dough,    Attys at Law,    160 Clairemont Ave,     Decatur, GA 30030-2500
21697663        Dorough & Dough Attys at Law,     180 Clairemont Ave,     Decatur GA 30030
21457260       +Eastside Medical,    PO Box 740766,    Cincinnati, OH 45274-0766
21456894       +Eileen G. Bottino,    ReadyCap Lending LLC,     420 Mountain Ave,     New Providence, NJ 07974-2736
21471890       +Ellice P. Martin,    Secretary of GA BHDD,    Two Peachtree St NW 24th Floor,
                 Atlanta, GA 30303-3142
21457011       +Ellice P. Martin, Secretary,     GA Dept of Behavioral Health &,      Two Peachtree St NW 24th Floor,
                 Atlanta, GA 30303-3142
21697719       +First Franklin,    4061 Powder Mill Rd #600,     Calverton MD 20705-4039
21456463       +First Franklin,    Div of National Bank of IN,     4061 Powder Mill Rd #600,
                 Calverton, MD 20705-4039
21473316       +Forrestall CPA,    5328 Lanier Islands Pkwy,     Ste 201,    Buford, GA 30518-9056
21456784       +GE Mortgage Insurance,    150 Grossman Dr Suite 301,      Braintree, MA 02184-4951
21473198       +Georgia Department of,    Community Health,     Benefit’s Recovery Section,
                 2 Peachtree Street, N.W.,     Atlanta, GA 30303-3141
21457262       +Georgia Department of Behaviorial,     Health & Developmental Disabilities,
                 Commissioner’s Office,    Judy Fitzgerald,     Two Peachtree Street, N.W. 24th Fl,
                 Atlanta, GA 30303-3142
21457263       +Georgia Department of Behaviorial,     Health & Developmental Disabilities,
                 Commissioner’s Office, Frank Berry,     Two Peachtree Street, N.W. 24th Fl,
                 Atlanta, GA 30303-3142
21829075       +Georgia Department of Community Health,     2 Peachtree Street, NW 40th Floor,
                 Atlanta, GA 30303-3141
21473254       +Georgia Superior Court,    Clerk Cooperative,     1875 Century Blvd Ste 100,
                 Atlanta, GA 30345-3314
21697673       +Great America Financial Service,     625 First Street SE, Suite 600,      Cedar Rapids IA 52401-2030
21456513       +Great America Financial Service,     625 First St. SE, Suite 800,      Cedar Rapids, IA 52401-2031
21472898        GreatAmerica Financial Svcs.,     PO Box 660831,    Dallas, TX 75266-0831
21457022       +Green & Associates PC,    c/o Cassandra Johnson Landry,      869 Natchez Valley Trace,
                 Grayson, GA 30017-4963
21456966        Grossman & Karaszewski LLC,     Attn William Grossman,     5965 Transit Road Ste 500,
                 East Amherst NY 14051-1874
21474028        Grossman & Karaszewski PLLC,     Attn William Grossman,     5965 Transit Road Ste 500,
                 East Amherst NY 14051-1874
21457265       +Gwinnett County Fire and,     Emergency Services,    480 Bedford Rd,     Bldg 600 2nd Floor,
                 Chappaqua, NY 10514-1715
21697703       +H & R BLOCK MORTGAGE,    P.O. BOX 949,    Orange Ca 92856-6949
21456474       +H and R Block Mortgage,    C/O Option One,    PO Box 949,     Orange, CA 92856-6949
21473341       +Hedrick Kring PLLC,    Delta,    1700 Pacific Ave Ste 4650,     Dallas, TX 75201-4684
21456478       +HomeBanc Mortgage,    101 E. Kennedy Blvd,    Ste 4100,     Tampa, FL 33602-5164
21456779       +Homeside Properties Inc,    2555 Westside Parkway,     Ste 600,     Alpharetta, GA 30004-4191
21456781       +Honorable Justin S. Anand,     1864 Richard B Russell Federal Bldg,      and US Courthouse,
                 75 Ted Turner Drive SW,    Atlanta, GA 30303-3315
21471887       +Honorable Justin S. Anand,     1868 Richard B Russell,     Federal Bldg,    75 Ted Turner Drive SW,
                 Atlanta, GA 30303-3315
21457007       +Honorable Justin S. Anand,     1868 Richard B Russell,     Federal Bldg and US Courthouse,
                 75 Ted Turner Drive SW,    Atlanta, GA 30303-3315
21457008       +Honorable Leigh Martin May,     2167 Richard B Russell,     Federal Bldg and US Courthouse,
                 75 Ted Turner Drive SW,    Atlanta, GA 30303-3315
21456782       +Honorable Leigh Martin May,     2167 Richard B Russell Federal Bldg,      75 Ted Turner Drive SW,
                 Atlanta, GA 30303-3315
21473318       +Huron Group/Bank of America,     Cooling Water,    1355 Roswell Rd, Ste 240,
                 Marietta, GA 30062-3690
21457283        Huron Law Group,    34851 Harry S Truman Blvd,     St. Charles, MO 63301
21595423       +JPMorgan Chase Bank, National Association,      Chase Records Center,     Attn: Correspondence Mail,
                 Mail Code LA4-5555,    700 Kansas Lane,    Monroe, LA 71203-4774
21456789       +Jackson & Hardwick,    2325 Lakeview Pkwy #275,     Alpharetta, GA 30009-7944
21456790       +Jackson & Hardwick,    253 Main St,    Loganville, GA 30052-2676
21456791       +Jeanette B Burns,    1225 Johnson Ferry Rd,     Marietta, GA 30068-2727
21456786       +Jeanette B Burns,    Weissman Nowack Curry & Wilco PC,      5909 Peachtree Dunwoody Road,
                 Building D, Suite 100,    Atlanta, GA 30328-8102
21456880        Jeffrey E Atkinson,    c/o William Calvin Bomar,     100 Galleria Pkwy SE,     Ste 480,
                 Atlanta, GA 30339-3165
21456881        John G Aldridge,    Atlanta, GA 30327
21456882       +John G Aldridge Jr PC,    Fifteen Piedmont Center,     3575 Piedmont Rd NE Ste 500,
                 Atlanta, GA 30305-1636
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21602413       +Jonathan M. Weiss,    Klee, Tuchin, Bogdanoff & Stern LLP,      1999 Avenue of the Stars,
                 39th Floor,    Los Angeles, CA 90067-6049
21471888       +Judy Fitzgerald,    GA Commissioner of BHDD,      Two Peachtree St NW 24th Floor,
                 Atlanta, GA 30303-3142
21457009       +Judy Fitzgerald, Commissioner,     GA Dept of Behavioral Health &,
                 Two Peachtree St NW 24th Floor,     Atlanta, GA 30303-3142
21456964        Karen W Hester,    1551 Annapolis Way,     Grayson, GA 30017-1097
21471878       +Kimberly Ryan,    Chair of BHDD,    Two Peachtree St NW 24th Floor,      Atlanta, GA 30303-3142
21457010       +Kimberly Ryan, Chair,    GA Dept of Behavioral Health &,      Two Peachtree St NW 24th Floor,
                 Atlanta, GA 30303-3142
21456889        Land America Lawyers Title,     Consumer Affairs Dept,     PO Box 27467,    Richmond, VA 23261-7567
21457268       +Liberty Mutual Insurance Company,     175 Berkeley Street,     Boston, MA 02116-3350
21456884        Macquarie Equipment Finance,     PO Box 2017,     Bloomfield Hills, MI 48303-2017
21474038        Macy’s American Express,    PO Box 9001108,     Louisville, KY 40290-1108
21457267       +Mark S Zemelman,    Kaiser Permanente,     One Kaiser Plaza,    Oakland, CA 94612-3610
21473379       +Maury Cobb,    Attorney at Law LLC,     T-Mobile,    301 Beacon Parkway West, Ste 100,
                 Birmingham, AL 35209-3103
21456885       +McCalla Raymer Leibert Pierce,     1544 Old Alabama Rd,     Roswell, GA 30076-2102
21474005       +Media Pages,    28364 South Western Ave,     #28,    Rancho Palos Verdes, CA 90275-1434
21471985       +Michelle Townes,    456 Athens St,    Jefferson, GA 30549-1408
21457016       +Michelle Townes 714924,    Assistant Attorney General,      456 Athens ST,
                 Jefferson, GA 30549-1408
21456510       +Natchez Trace HOA,    839 Natchez Valley Trace,      Grayson, GA 30017-4963
21456886       +Natchez Trace HOA,    838 Natchez Valley Trace,      Grayson, GA 30017-4966
21615646       +Natchez Trace Homeowners Association, Inc.,       G. Lanier Coulter,
                 2800 Century Parkway, Ste. 275,     Atlanta, GA 30345-3144
21456887        National Board of Certified Counselors,      Andreea Tiganus,    3 Terrace Way,
                 Greensboro, NC 27403-3660
21456888       +Nelson Mullins Riley and Scarborough LLP,      Attorney Greg Taube,     201 17th 81 NW Ste 1700,
                 Atlanta, GA 30363-1099
21456890       +North Fulton Title Co,    Stephen L Jenkins,      4463 Towne Lake Pkwy,    Ste 100,
                 Woodstock, GA 30189-8230
21474014        Ocwen Loan Servicing,    Nationstar,     PO Box 660264,    Dallas, TX 75266-0264
21456480       +Ocwen Loan Svc/Option One,     PO Box 24605,    West Palm Beach, FL 33416-4605
21456511       +Ocwen Loan/Nationstar,    PO Box 24605,     West Palm Beach, FL 33416-4605
21474006       +OnceLogix LLC,    111 North Chestnut St,     Ste 302,    Winston Salem, NC 27101-4056
21471876       +P Brian Campbell,    Assistant Attorney General,      456 Athens ST,    Jefferson, GA 30549-1408
21457012       +P Brian Campbell 106755,    Assistant Attorney General,      456 Athens ST,
                 Jefferson, GA 30549-1408
21457269        PNC Bank National Association Inc,      300 Fifth Avenue,    Pittsburgh, PA 15222-2401
21457271        PNC Bank National Association Inc.,      C/O Christi Davis, Board Secretary,     300 Fifth Avenue,
                 Pittsburgh, PA 15222-2401
21457270       +PNC Bank National Association Inc.,      c/o Corporation Service Company,
                 40 Technology Pkwy South,     Ste 300,    Norcross, GA 30092-2924
21456892       +Parnell & Parnell,    641 South Lawrence St,      Montgomery, AL 36104-5848
21457000        Parnell and Parnell,    PO Box 2139,     Montgomery, AL 36102
21472933        Payne Richards & Associates,     801 Pegasus Dr. Suite 101,     Bakersfield, CA 93308
21456893       +Phelan Hallinan Diamond,    & Jones, PLLC (FL),      1617 JFK Boulevard Ste 1400,
                 Philadelphia, PA 19103-1814
21474008       +Publishers Clearing House,     PO Box 6344,    Harlan, IA 51593-1844
21456481       +ReadyCap Lending,    420 Mountain Ave,     New Providence, NJ 07974-2736
21474030       +ReadyCap Lending, LLC,    c/o Eileen Bottino,      420 Mountain Ave,
                 New Providence, NJ 07974-2736
21456482       +Regency Mortgage,    5395 Roswell Rd NE,     Atlanta, GA 30342-1976
21456483       +Regions Mortgage,    605 So Perry St,     Montgomery, AL 36104-5821
21697675       +Regions Mortgage,    605 South Perry Street,      Montgomery AL 36104-5821
21456960       +Residential Title Inc,    Kenneth E. Sullivan,      245 West Crogan St,
                 Lawrenceville, GA 30046-4863
21471991       +Richard Green, II,    Administrative Judge,     191 Peachtree St NE,     Ste 3275,
                 Atlanta, GA 30303-1784
21457018       +Richard Green, II, Administrative Judge,      191 Peachtree St NE,     Atlanta, GA 30303-1740
21473303       +Richard Payne Associates,     3801 Pegasus Dr. Suite 101,     Bakersfield, CA 93308-6874
21474007       +Ring Central,    20 Davis Dr,    Belmont, CA 94002-3002
21697680       +Riverdale Funding,    C/O Woiodbridge Funding,      12050 Ventura Blvd,    Studio City CA 91604-2638
21456504       +Riverdale Funding,    c/o Woodbridge Lending,      12050 Ventura Blvd,    Studio City, CA 91604-2638
21474023        Riverdale Funding,    c/o Woodbridge Lending,      Woodbridge Group of Companies, LLC,
                 Studio City, CA 91604
21560806       +Safeco Insurance,    175 Berkeley Street,     Boston, MA 02116-5066
21457272       +Safeco Insurance,    P.O. Box 10002,     Manchester, NH 03108-1002
21474009       +Saks World Elite/Capital One,     Frontline Asset Strategy,     2700 Snelling Ave N Ste 250,
                 Roseville, MN 55113-1783
21456702       +Sarah Hawkins,    Little Rock Commercial,     2120 Riverfront Drive,     Suite 100,
                 Little Rock, Arkansas 72202-1794
21471914       +Shalen Nelson,    Senior Assistant Attorney General,      456 Athens St,    Jefferson, GA 30549-1408
21457015       +Shalen Nelson 636575,    Senior Assistant Attorney General,      456 Athens ST,
                 Jefferson, GA 30549-1408
21457288       +Sound Telecom,    PO Box 789050,    Philadelphia, PA 19172-0001
21457273       +Sound Telecom,    PO Box 789050,    Philadelphia, PA 19178-9050
21457287       +Southwest Chase,    PO Box 1423,    Charlotte, NC 28201-1423
21473317       +Stoneleigh Recovery Associates,     PO Box 1118,     Charlotte, NC 28201-1118
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21483883       +Stoneleigh Recovery Associates,    PO Box 1479,     Lombard, IL 60148-8479
21457284       +Synchrony Bank (Sam’s Club),    Midland Funding,     1355 Roswell Rd Ste 240,
                 Marietta, GA 30062-3690
21457023        Tamera Bell,   5220 North Somerset LN,     Alpharetta, GA 30004-7419
21457024       +Tamera Bell,   c/o Mzekewe Legal LLC,     PO 849,    Atlanta, GA 30301-0849
21457281        The Bureaus/Capital One,    P.O. Box 1479,    Lombard, IL 60148-8479
21456506       +The Downs Homeowners Assoc,    c/o Community Mgmt Inc,     2120 Hwy 81,
                 Loganville, GA 30052-4331
21456962        The Downs Homeowners Association,    c/o Georgia Community Mgmt Inc.,      Loganville, GA 30052
21484451       +The Downs Homeowners Association, Inc.,     c/o Lazega & Johanson, LLC,     P.O. Box 250800,
                 Atlanta, Georgia 30325-1600
21456963        Timothy R Hester,    1551 Annapolis Way,    Grayson, GA 30017-1097
21456785       +Travelers Insurance,    175 Berkeley Street,     Boston, MA 02116-5066
21456961      ++US PREMIUM FINANCE,    280 TECHNOLOGY PARKWAY,     SUITE 200,   NORCROSS GA 30092-2990
               (address filed with court: US Premium Finance,       280 Technology Parkway Suite 200,
                 Norcross GA 30092)
21457006       +Valeri Burnough,    c/o Cassandra Johnson Landry,     869 Natchez Valley Trace,
                 Grayson, GA 30017-4963
21512215        Valeri Burnough,    7842 Clearview Cir,    Riverdale, GA 30296
21457005       +Valeri Burnough,    Delong Caldwell Bridgers,     Fitzpatrick & Benjamin,
                 101 Marietta St, NW, Suite 3100,    Atlanta, GA 30303-2731
21456509       +Veripro Solutions,    PO Box 3572,   Coppell, TX 75019-9572
21456788       +Weissman Nowack Curry & Wilco PC,    Altisource Portfolio Solutions,      One Alliance Center,
                 3500 Lenox Rd 4th Floor,    Atlanta, GA 30326-4228
21456787       +Weissman Nowack Curry & Wilco PC,    One Alliance Center,     3500 Lenox Rd 4th Floor,
                 Atlanta, GA 30326-4228
21456965       +Weissman PC,   One Alliance Center,     4th Floor,    3500 Lenox Rd,    Atlanta, GA 30326-4228
21456508       +Wells Fargo,   2135 East Main St,    Ste 180,     Snellville, GA 30078-6434
21564165       +Wilmington Savings Fund Society, FSB,,     c/o CARRINGTON MORTGAGE SERVICES, LLC,
                 BANKRUPTCY DEPARTMENT,    1600 SOUTH DOUGLASS ROAD,     ANAHEIM, CA 92806-5951
21680303        Wilmington Trust, National Association,     Select Portfolio Servicing, Inc.,     P.O. Box 65250,
                 Salt Lake City UT 84165-0250
21474021      #+Woodbridge Group of Companies, LLC,     c/o Riverdale Funding,    207 Mockingbird Ln Ste 402,
                 Johnson City, TN 37604-3137
21474025        Woodbridge Group of Companies, LLC,     c/o GCG,    P.O. Box 10545,    Dublin, OH 43017-0208
21602414       +Woodbridge Mortgage Investment Fund 3A, LLC,      Klee, Tuchin, Bogdanoff & Stern LLP,
                 1999 Avenue of the Stars,    39th Floor,    Los Angeles, CA 90067-6049

Notice by electronic transmission was sent to the following persons/entities by the Bankruptcy Noticing Center.
cr             +EDI: RMSC.COM Feb 20 2019 03:48:00       Synchrony Bank,    c/o PRA Receivables Management, LLC,
                 PO Box 41021,    Norfolk, VA 23541-1021
cr              E-mail/Text: BankruptcyNotices@titlemax.com Feb 19 2019 23:32:00
                 TitleMax of Georgia, Inc. d/b/a TitleMax,     15 Bull Street, Suite 200,     Savannah, GA 31401
21457278       +E-mail/Text: april@advantagecollections.com Feb 19 2019 23:30:04
                 Advantage Collection Professionals LLC,     P.O. Box 353,    Cambridge, Minnesota 55008-0353
21457286       +EDI: AMEREXPR.COM Feb 20 2019 03:48:00       American Express Delta Sky Miles,     PO Box 1270,
                 Newark, NJ 07101-1270
21457279       +EDI: AMEREXPR.COM Feb 20 2019 03:48:00       American Express Delta Sky Miles,     PO Box 297871,
                 Fort Lauderdale, FL 33329-7871
21522094        EDI: BECKLEE.COM Feb 20 2019 03:43:00       American Express National Bank,     Becket and Lee LLP,
                 PO Box 3001,    Malvern, PA 19355-0701
21525270        EDI: BECKLEE.COM Feb 20 2019 03:43:00       American Express National Bank,
                 c/o Becket and Lee LLP,    PO Box 3001,    Malvern PA 19355-0701
21500842       +EDI: PRA.COM Feb 20 2019 03:48:00       Bureaus Investment Group Portfolio No 15 LLC,
                 c/o PRA Receivables Management, LLC,     PO Box 41021,    Norfolk VA 23541-1021
21473260        EDI: RESURGENT.COM Feb 20 2019 03:48:00       CACH LLC,    PO Box 5980,    Denver, CO 80217-5980
21601605        EDI: RESURGENT.COM Feb 20 2019 03:48:00       CACH, LLC,    Resurgent Capital Services,
                 PO Box 10587,    Greenville, SC 29603-0587
21473290       +EDI: WFNNB.COM Feb 20 2019 03:48:00       Cb/VicScrt,    PO Box 182789,    Columbus, OH 43218-2789
21473301       +EDI: CHASE.COM Feb 20 2019 03:48:00       Chase,    PO Box 15298,   Wilmington, DE 19850-5298
21474003       +EDI: CHASE.COM Feb 20 2019 03:48:00       Chase Card Services,    PO Box 15298,
                 Wilmington, DE 19850-5298
21473347       +E-mail/Text: Bk@c2cfsi.com Feb 19 2019 23:31:28        Coast to Coast Financial Solutions,
                 Shred It,    101 Hodencamp Rd Ste 120,    Thousand Oaks, CA 91360-5831
21473348       +E-mail/Text: JENNIFER@COMMERCIALTRADE.COM Feb 19 2019 23:33:04        Commercial Trade Inc,
                 PO Box 10389,    Bakersfield, CA 93389-0389
21457257       +EDI: CONVERGENT.COM Feb 20 2019 03:48:00       Convergent Outsourcing Inc,     PO Box 9004,
                 Renton, WA 98057-9004
21457258       +E-mail/Text: bankruptcy@credencerm.com Feb 19 2019 23:32:23        Credence Resource Management,
                 17000 Dallas Parkway Suite 204,    Dallas, TX 75248-1940
21472087       +E-mail/Text: bankruptcy@credencerm.com Feb 19 2019 23:32:24
                 Credence Resource Management, LLC,     6045 Atlantic Blvd,    Norcross, GA 30071-1322
21456703       +E-mail/Text: djelem@dekalbcountyga.gov Feb 19 2019 23:30:34        DeKalb County Tax Commissioner,
                 Attn: Collections,    4380 Memorial Drive Ste 100,     Decatur GA 30032-1239
21602977       +EDI: RESURGENT.COM Feb 20 2019 03:48:00       Emory Eastside Medical Center,
                 Resurgent Capital Services,    PO Box 1927,     Greenville, SC 29602-1927
21457264        E-mail/Text: G2GPCCU@southernco.com Feb 19 2019 23:33:08        Georgia Power,    c/o Kevin Pearson,
                 241 Ralph McGill Blvd NE,    Bln #10180,    Atlanta, GA 30308-3374
21456999        EDI: IRS.COM Feb 20 2019 03:48:00       Department of the Treasury,     PO Box 145566,
                 ACS Support Stop 813G,    Cincinnati, OH 45250
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                               Form ID: ntcpoc              Total Noticed: 221


Notice by electronic transmission was sent to the following persons/entities by the Bankruptcy Noticing Center
(continued)
21555879       +EDI: MID8.COM Feb 20 2019 03:48:00       Midland Funding LLC,   PO Box 2011,
                 Warren, MI 48090-2011
21457285       +EDI: HFC.COM Feb 20 2019 03:43:00       Neiman Marcus,   PO Box 5235,
                 Carol Stream, IL 60197-5235
21456891       +E-mail/Text: bankruptcy@ondeck.com Feb 19 2019 23:32:52       On Deck,    901 North Stuart St,
                 Ste 700,    Arlington, VA 22203-4129
21474037       +E-mail/Text: bankruptcy@ondeck.com Feb 19 2019 23:32:52       OnDeck,    1400 Broadway,
                 New York, NY 10018-5300
21455958       +EDI: PRA.COM Feb 20 2019 03:48:00       PRA Receivables Management, LLC,    PO Box 41021,
                 Norfolk, VA 23541-1021
21585882        EDI: Q3G.COM Feb 20 2019 03:48:00       Quantum3 Group LLC as agent for,    Comenity Bank,
                 PO Box 788,    Kirkland, WA 98083-0788
21473217       +EDI: RESURGENT.COM Feb 20 2019 03:48:00       Resurgent Capital Services,    Cach, LLC,
                 55 Beattie Pl Ste 110,    Greenville, SC 29601-5115
21457261       +EDI: RESURGENT.COM Feb 20 2019 03:48:00       Resurgent Capital Services LLP,
                 Freshview Solutions,    PO Box 10497,    Greenville, SC 29603-0497
21457001       +EDI: RESURGENT.COM Feb 20 2019 03:48:00       Resurgent Capital Services LLP/CACH LLC,
                 P.O. Box 10497,    Greenville, SC 29603-0497
21456505       +E-mail/Text: jennifer.chacon@spservicing.com Feb 19 2019 23:33:09        Select Portfolio Services,
                 PO Box 65450,    Salt Lake City, UT 84165-0450
21456507        E-mail/Text: BankruptcyNotices@titlemax.com Feb 19 2019 23:32:00       TitleMax Corporate Office,
                 15 Bull Street,    Savannah GA 31401-2685
21456961        E-mail/Text: jlippincott@uspremiumfinance.com Feb 19 2019 23:29:49        US Premium Finance,
                 280 Technology Parkway Suite 200,     Norcross GA 30092
21613457        E-mail/Text: jennifer.chacon@spservicing.com Feb 19 2019 23:33:09
                 Wilmington Trust, National Association,     c/o Select Portfolio Servicing, Inc.,
                 P.O. Box 65250,    Salt Lake City, UT 84165-0250
                                                                                               TOTAL: 35

            ***** BYPASSED RECIPIENTS (undeliverable, * duplicate) *****
21474010*       +American Express,    Delta Sky Miles,    PO Box 1270,    Newark, NJ 07101-1270
21474031*       +American Express Delta Sky Miles,     PO Box 1270,    Newark, NJ 07101-1270
21456458*       +Ames Funding,   2 N. Lake Ave.,    Ste 260,    Pasadena, CA 91101-4177
21471884*       +Annette M Cowart 191199,    Deputy Attorney General,     456 Athens ST,    Jefferson, GA 30549-1408
21456704*       +DeKalb County Tax Commissioner,    Attn: Collections,     4380 Memorial Drive Ste 100,
                  Decatur GA 30032-1239
21456705*       +DeKalb County Tax Commissioner,    Attn: Collections,     4380 Memorial Drive Ste 100,
                  Decatur GA 30032-1239
21456706*       +DeKalb County Tax Commissioner,    Attn: Collections,     4380 Memorial Drive Ste 100,
                  Decatur GA 30032-1239
21456707*       +DeKalb County Tax Commissioner,    Attn: Collections,     4380 Memorial Drive Ste 100,
                  Decatur GA 30032-1239
21456708*       +DeKalb County Tax Commissioner,    Attn: Collections,     4380 Memorial Drive Ste 100,
                  Decatur GA 30032-1239
21456709*       +DeKalb County Tax Commissioner,    Attn: Collections,     4380 Memorial Drive Ste 100,
                  Decatur GA 30032-1239
21456710*       +DeKalb County Tax Commissioner,    Attn: Collections,     4380 Memorial Drive Ste 100,
                  Decatur GA 30032-1239
21456997*       +DeKalb County Tax Commissioner,    Attn: Collections,     4380 Memorial Drive Ste 100,
                  Decatur GA 30032-1239
21473143*       +DeKalb County Tax Commissioner,    Attn: Collections,     4380 Memorial Drive Ste 100,
                  Decatur GA 30032-1239
21697655*       +DeKalb County Tax Commissioner,    Attn: Collections,     4380 Memorial Drive Ste 100,
                  Decatur GA 30032-1239
21456464*       +First Franklin,    Div of National Bank of IN,     4061 Powder Mill Rd #600,
                  Calverton, MD 20705-4039
21456465*       +First Franklin,    Div of National Bank of IN,     4061 Powder Mill Rd #600,
                  Calverton, MD 20705-4039
21456466*       +First Franklin,    Div of National Bank of IN,     4061 Powder Mill Rd #600,
                  Calverton, MD 20705-4039
21457266*       +Gwinnett County Fire and,    Emergency Services,     480 Bedford Rd,    Bldg 600 2nd Floor,
                  Chappaqua, NY 10514-1715
21456475*       +H and R Block Mortgage,    C/O Option One,    PO Box 949,    Orange, CA 92856-6949
21456476*       +H and R Block Mortgage,    C/O Option One,    PO Box 949,    Orange, CA 92856-6949
21456477*       +H and R Block Mortgage,    C/O Option One,    PO Box 949,    Orange, CA 92856-6949
21456479*       +HomeBanc Mortgage,    101 E. Kennedy Blvd,    Ste 4100,    Tampa, FL 33602-5164
21457017*        National Board of Certified Counselors,     Andreea Tiganus,    3 Terrace Way,
                  Greensboro, NC 27403-3660
21457282*        The Bureaus/Capital One,    P.O. Box 1479,    Lombard, IL 60148-8479
21457255      ##+Alpha Recovery Corporation,    5660 Greenwood Plaza Blvd,     Ste 101,
                  Greenwood Village, CO 80111-2417
21456883      ##+Lazega & Johanson LLC,    Bradley W Griffin 746187,     3520 Piedmont Rd NE,    Ste 4015,
                  Atlanta, GA 30305-1512
                                                                                                TOTALS: 0, * 24, ## 2

Addresses marked ’+’ were corrected by inserting the ZIP or replacing an incorrect ZIP.
USPS regulations require that automation-compatible mail display the correct ZIP.
            Case 18-55697-lrc             Doc 159 Filed 02/21/19 Entered 02/22/19 01:49:08                                Desc
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                                      Form ID: ntcpoc                    Total Noticed: 221


             ***** BYPASSED RECIPIENTS (continued) *****

Transmission times for electronic delivery are Eastern Time zone.

Addresses marked ’++’ were redirected to the recipient’s preferred mailing address
pursuant to 11 U.S.C. 342(f)/Fed.R.Bank.PR.2002(g)(4).

Addresses marked ’#’ were identified by the USPS National Change of Address system as requiring an update.
While the notice was still deliverable, the notice recipient was advised to update its address with the court
immediately.

Addresses marked ’##’ were identified by the USPS National Change of Address system as undeliverable.                             Notices
will no longer be delivered by the USPS to these addresses; therefore, they have been bypassed. The
debtor’s attorney or pro se debtor was advised that the specified notice was undeliverable.


I, Joseph Speetjens, declare under the penalty of perjury that I have sent the attached document to the above listed entities in the manner
shown, and prepared the Certificate of Notice and that it is true and correct to the best of my information and belief.
Meeting of Creditor Notices only (Official Form 309): Pursuant to Fed. R. Bank. P. 2002(a)(1), a notice containing the complete Social
Security Number (SSN) of the debtor(s) was furnished to all parties listed. This official court copy contains the redacted SSN as required
by the bankruptcy rules and the Judiciary’s privacy policies.
Date: Feb 21, 2019                                            Signature: /s/Joseph Speetjens

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                                      CM/ECF NOTICE OF ELECTRONIC FILING

The following persons/entities were sent notice through the court’s CM/ECF electronic mail (Email)
system on February 19, 2019 at the address(es) listed below:
              A. Michelle Hart Ippoliti    on behalf of Creditor    JPMorgan Chase Bank, National Association
               Michelle.ippoliti@mccalla.com, bankruptcyecfmail@mccalla.com
              Andrew Houston McCullen    on behalf of Creditor    Wilmington Savings Fund Society, FSB, as
               trustee of Stanwich Mortgage Loan Trust A ecfganb@aldridgepite.com, amccullen@ecf.inforuptcy.com
              Brian K. Jordan    on behalf of Creditor    Deutsche Bank National Trust Company
               ecfganb@aldridgepite.com, bjordan@ecf.inforuptcy.com
              Brian K. Jordan    on behalf of Creditor    Wilmington Savings Fund Society, FSB, as trustee of
               Stanwich Mortgage Loan Trust A ecfganb@aldridgepite.com, bjordan@ecf.inforuptcy.com
              Brian K. Jordan    on behalf of Creditor    DEUTSCHE BANK NATIONAL TRUST COMPANY
               ecfganb@aldridgepite.com, bjordan@ecf.inforuptcy.com
              Brian K. Jordan    on behalf of Creditor    Ocwen Loan Servicing, LLC ecfganb@aldridgepite.com,
               bjordan@ecf.inforuptcy.com
              Brian K. Jordan    on behalf of Creditor    Select Portfolio Servicing Inc.
               ecfganb@aldridgepite.com, bjordan@ecf.inforuptcy.com
              David S. Klein    on behalf of Creditor    Sukhmani Investments, LLC dklein@randllaw.com,
               yalamin@randllaw.com;1030641420@filings.docketbird.com
              David S. Klein    on behalf of Creditor    King Group Mgmt, LLC dklein@randllaw.com,
               yalamin@randllaw.com;1030641420@filings.docketbird.com
              Gregory M. Taube    on behalf of Creditor    ReadyCap Lending, LLC greg.taube@nelsonmullins.com,
               ayo.uboh@nelsonmullins.com;cynthia.harris@nelsonmullins.com
              Heather D. Bock    on behalf of Creditor    U.S. Bank National Association heather.bock@mccalla.com,
               bankruptcyecfmail@mccalla.com;BankruptcyECFMail@mrpllc.com
              Herbert C. Broadfoot, II    on behalf of Trustee S. Gregory Hays bert@hcbroadfootlaw.com
              John D. Schlotter    on behalf of Creditor    JPMorgan Chase Bank, National Association
               John.schlotter@mccalla.com, bankruptcyecfmail@mccalla.com
              L. Stephen O’Hearn, Jr.    on behalf of Creditor    TitleMax of Georgia, Inc. d/b/a TitleMax
               sohearn@meyersayers.com, ohearnnotices@gmail.com
              Lindsay P. S. Kolba    on behalf of U.S. Trustee    Office of the United States Trustee
               lindsay.p.kolba@usdoj.gov, lisa.maness@usdoj.gov
              Maria A. Tsagaris    on behalf of Creditor    JPMorgan Chase Bank, National Association
               maria.tsagaris@mccalla.com, BankruptcyECFMail@mccallaraymer.com;mt3@mccallaraymer.com
              Melissa J. Davey    on behalf of Trustee Melissa J. Davey mail@13trusteeatlanta.com,
               cdsummary@13trusteeatlanta.com;cdbackup@13trusteeatlanta.com
              Neil C. Gordon    on behalf of Trustee Neil C. Gordon angela.ford@agg.com,
               carol.stewart@agg.com;ngordon@ecf.epiqsystems.com;ecf.alert+Gordon@titlexi.com
              Office of the United States Trustee     ustpregion21.at.ecf@usdoj.gov
              Robert Trauner     on behalf of Trustee Robert Trauner GA03@ecfcbis.com
              S. Gregory Hays    ghays@haysconsulting.net, saskue@haysconsulting.net;GA32@ecfcbis.com
              Whitney W. Groff    on behalf of Plaintiff    Georgia Department of Community Health
               wgroff@law.ga.gov
                                                                                               TOTAL: 22
